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United States Courts 43

n District of Texas
Souther FILED
-2020
UNITED STATES DISTRICT COURT SEP 09°20
SOUTHERN DISTRICT OF TEXAS ‘Court
McALLEN DIVISION David J. Bradley, Clerk 0
UNITED STATES OF AMERICA §
§
v. § Criminal No. ._ 9 ] 2
. § M- 20- 4 |
JUAN CARLOS CARRANZA § .
INDICTMENT
THE GRAND JURY CHARGES:

On or about April 16, 2020, in the Southern District of Texas and within the jurisdiction of

the Court, defendant,
JUAN CARLOS CARRANZA

knowingly having been convicted of a crime punishable by imprisonment for a term exceeding
one year, namely, for Theft of Property in an Amount of $20,000.00 or More But Less Than
$100,000.00, in the 275" District Court, Hidalgo County, Texas, on November 8, 2004, in cause
number CR-2128-01-E, did knowingly and. unlawfully possess in and affecting interstate and
foreign commerce, a Beretta, Model PX4 Storm, 9mm caliber pistol; a Walther, Model Colt 1911
Rail Gun, .22 caliber pistol, a Glock, Model 26, 9mm caliber pistol, and 997 rounds of assorted
ammunition. .

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

NOTICE OF FORFEITURE
18 U.S.C. §922(g)(1)

Pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United States
Code, Section 2461(c), the United States gives notice to defendant,
| JUAN CARLOS CARRANZA
that upon conviction of a violation of Title 18, United States Code, Section 922(g)(1), all
firearms involved in said violation are subject to forfeiture, including but not limited to the

following:
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a Beretta, Model PX4 Storm, 9mm caliber pistol, Serial Number PX121096;
a Walther, Model Colt 1911 Rail Gun, .22 caliber pistol, Serial Number LK002777;,
a Glock, Model 26, 9mm caliber pistol, Serial Number BGBV003; and

997 rounds of assorted ammunition.

A TRUE BILL

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FOREPERSON

RYAN K. PATRICK
UNITED STATES ATTORNEY

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ASSISTANT UNITED STATES ATTORNEY
